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                       UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                  Eastern Division

Jessica Vasil, et al.
                               Plaintiff,
v.                                                   Case No.: 1:16−cv−09937
                                                     Honorable John J. Tharp Jr.
Kiip, Inc.
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 6, 2019:


        MINUTE entry before the Honorable John J. Tharp, Jr: Upon receipt of the
plaintiffs' notice of voluntary dismissal without prejudice pursuant to Fed. R. Civ. P.
41(a)(1)(A)(i) [42], this case is dismissed without prejudice. All future hearings and
deadlines are stricken and all pending motions are denied as moot. Civil case terminated.
Mailed notice(is, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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